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 1 JACK P. DICANIO (SBN #138782)
   jack.dicanio@skadden.com
 2 ALLEN RUBY (SBN #47109)
   allen.ruby@skadden.com
 3 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
   525 University Avenue, Suite 1400
 4 Palo Alto, California 94301
   Telephone: (650) 470-4500
 5 Facsimile: (650) 470-4570

 6 BARRY SIMON (pro hac vice forthcoming)
   bsimon@wc.com
 7 JONATHAN B. PITT (pro hac vice forthcoming)
   jpitt@wc.com
 8 STEPHEN L. WOHLGEMUTH (pro hac vice forthcoming)
   swohlgemuth@wc.com
 9 WILLIAMS & CONNOLLY LLP
   725 Twelfth Street, N.W.
10 Washington, D.C. 20005
   Telephone: (202) 434-5000
11 Facsimile: (202) 434-5029

12 Attorneys for
   MARC L. ABRAMOWITZ
13

14                               UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17
   In re Ex Parte Application of                  Case No.: 3:18-mc-80132-JSC
18 PALANTIR TECHNOLOGIES INC.,
                                                  MARC L. ABRAMOWITZ’S OPPOSITION
19         Applicant,                             TO PALANTIR’S EX PARTE APPLICATION
                                                  FOR AN ORDER PURSUANT TO 28 U.S.C. §
20 For an Order Pursuant to 28 U.S.C. § 1782 to   1782 GRANTING LEAVE TO OBTAIN
   Obtain Discovery from MARC L.                  DISCOVERY FOR USE IN FOREIGN
21 ABRAMOWITZ for Use in Foreign                  PROCEEDINGS
   Proceedings.
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 1          Marc L. Abramowitz (“Abramowitz”) respectfully submits this opposition to Palantir
 2 Technologies Inc.’s (“Palantir”) Ex Parte Application for an Order Pursuant to 28 U.S.C. § 1782

 3 (“§ 1782”) Granting Leave to Obtain Discovery for Use in Foreign Proceedings.

 4 I.       INTRODUCTION
 5          Palantir’s application for discovery under § 1782 highlights the dangers of ex parte proceedings.
 6 When one party believes it will be proceeding unopposed, the temptation to misrepresent the record can

 7 be great. Palantir gave in to that temptation here: its ex parte application omits critical facts about the

 8 status of a related case, the validity of the foreign proceedings for which it seeks discovery, and the true

 9 purpose of its application.

10          In its ex parte application, which Abramowitz discovered only by happenstance, Palantir claims
11 to be seeking discovery for use in two German cases it has either brought, or plans to bring, against

12 Abramowitz. But Palantir fails to disclose that, by filing the German cases and then immediately

13 seeking relief under § 1782, Palantir is trying to obtain discovery that a California state court has twice

14 barred Palantir from obtaining. For the past two years, Palantir has attempted to pursue claims for

15 supposed breach of contract and misappropriation of trade secrets against Abramowitz and two related

16 entities in California Superior Court. Palantir’s German cases are based on exactly the same “facts” as

17 those alleged in the long-pending California case; and if Palantir were to prevail in the California case, it

18 would provide Palantir with complete monetary and injunctive relief (another fact Palantir neglects to

19 mention in its ex parte application). Even though the California case has been pending for two years,

20 Palantir has been unable to describe the purported trade secrets allegedly misappropriated by

21 Abramowitz with “reasonable particularity,” as is required by California law. For that reason, the

22 California Superior Court has stayed discovery. By filing a duplicative action in a German court, which

23 would not provide Palantir with the broad discovery it now seeks, and then immediately applying ex

24 parte for § 1782 discovery, Palantir is trying to circumvent the Superior Court’s stay of discovery and

25 California law.

26          There is yet another material omission in Palantir’s ex parte application. In its California
27 complaint, Palantir alleges that the information it disclosed to Abramowitz was governed by certain

28 “Confidentiality Contracts,” including a Preferred Stock Transfer Agreement from August 2012 (the
                                                         1
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 1 contractually required to give Palantir notice of the transaction. Id. at *2. And so Abramowitz informed

 2 Palantir of Highbridge’s identity, the price, and the number of shares to be sold. Id. at *3. Once Palantir

 3 learned of these details, it immediately instructed one of its agents to contact Highbridge and to offer it

 4 the opportunity to buy shares from Palantir, instead of Abramowitz’s entities. Id. Palantir’s agent

 5 followed those instructions: the agent met with a principal at Highbridge and tried to convince him to

 6 abandon his deal with Abramowitz. Id. Highbridge rebuffed the overture, telling Palantir’s agent that

 7 Highbridge did not break deals. Id. Ultimately, the Abramowitz-Highbridge transaction went through,

 8 despite Palantir’s conduct. Id.

 9          In roughly that same time period, another incident made things worse. Karp called Abramowitz
10 shortly before they were to meet for lunch and accused Abramowitz of stealing Palantir’s intellectual

11 property and using it to file patent applications. Chancery Opinion, 2018 WL 1023155, at *5.

12 According to Abramowitz, Karp then “verbally abused” Abramowitz in a manner he described as

13 “irrational, somewhat unhinged, and completely contradictory to any relationship that [he] had had with

14 [Karp] in the past.” Id. (alteration in original) (citing Abramowitz testimony).

15          At that point, after Palantir tried to steal the Highbridge deal and after being confronted with
16 baseless allegations of theft, Abramowitz decided that he could no longer stay a shareholder of Palantir.

17 Working through his broker, Abramowitz, along with several other Palantir shareholders, arranged to

18 sell his stock to CDH Investments, a Chinese investment company. Delaware Superior Court Opinion,

19 2018 WL 4033767, at *4. Abramowitz had arranged to sell his entire position to CDH for over $64

20 million. Id.

21          But Palantir once again used the playbook from the Highbridge transaction: after Abramowitz
22 and the other sellers notified Palantir of the deal, as they were contractually required to do, Palantir

23 instructed its agent to contact CDH and offer it a deal with Palantir, instead of Abramowitz and the other

24 sellers. Id. Palantir’s agent sent CDH the following message:

25          Sorry to reach out to you this way but I’m not sure exactly how best to reach out or who
            to at your firm. I represent Palantir Technologies in Palo Alto and have been asked by the
26
            company to reach out to your firm as you guys demonstrated a level of interest in the
27          company through a third party. If this is not the case, I apologize. In any event, I would
            appreciate a response back at your convenience so I can discuss the current offering,
28          process and timing.
                                                          5
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 1 Id. (citation omitted). Soon after that offer from Palantir’s agent, CDH withdrew from its deal with

 2 Abramowitz. CDH stated that it was doing so because it wanted to pursue a deal with Palantir. Id.

 3 Since Palantir’s interference with the CDH transaction, the market price for Palantir stock has

 4 plummeted. Id. at *4.

 5          B.      Abramowitz Seeks to Investigate Palantir’s Misconduct, and Palantir Tries to
                    Discredit Abramowitz.
 6
            At that point, Abramowitz had become, in effect, an involuntary investor in Palantir. Because
 7
     Palantir provided its investors virtually no information, Abramowitz, through an entity named KT4
 8
     Partners LLC, of which Abramowitz is the managing member, sent, in mid-August 2016, an information
 9
     request pursuant to an Investors’ Rights Agreement. Chancery Opinion, 2018 WL 1023155, at *5. The
10
     request sought financial and governance information, as well as information about potential misconduct.
11
     Id. at *5 n.50. Among other things, KT4 sought information about (1) the CDH interference and (2)
12
     Palantir’s and its insiders’ compliance with shareholder contracts. Id.
13
            Upon receiving the request, one of Palantir’s in-house lawyers told KT4 that “[Palantir] was
14
     reviewing the request and would respond soon.” Id. at *5. That was not true. Palantir was instead
15
     working on a three-pronged attack on Abramowitz. In early-September 2016, Palantir (1) purported to
16
     retroactively amend the Investors’ Rights Agreement to strip KT4 of its right to information; (2) filed a
17
     meritless lawsuit in California Superior Court, based on Karp’s year-old allegations regarding
18
     Abramowitz’s patent applications; and (3) filed a meritless derivation proceeding before the USPTO.
19
     See id. at *4-6; see also Palantir Mem. of P&A, at 7-8 (Dkt. 2).
20
            In prior litigation with Palantir, the Delaware Court of Chancery described Palantir’s conduct in
21
     this regard, at least as it pertained to the retroactive amendments, as leading “KT4 to believe that it was
22
     considering KT4’s information request, and then pull[ing] the rug out from under KT4 . . . by
23
     eviscerating its contractual rights to seek information.” Chancery Opinion, 2018 WL 1023155, at *13.
24
     And while Palantir has tried to explain this conduct by claiming that it was trying to keep its confidential
25
     information from Abramowitz, the Court of Chancery held that this explanation was disingenuous and in
26
     fact gave the Court reason to “suspect wrongdoing” by Palantir: “Had Palantir been primarily
27
     concerned with Abramowitz obtaining confidential information, it could have denied certain requests
28
                                                          6
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 1 and at least made an effort to provide information regarding the non-sensitive topics.” Id. (emphasis

 2 added).

 3            C.      The Delaware Court of Chancery Finds A Credible Basis To Infer That Palantir
                      and Its Insiders Have Committed Wrongdoing, and Entities Related to Abramowitz
 4                    Pursue a Tortious Interference Suit in Delaware Superior Court.
 5            After Palantir “pulled the rug out from under KT4,” KT4 demanded to inspect Palantir’s books
 6 and records under a Delaware statute, 8 Del. C. § 220. Palantir denied that demand in its entirety, and

 7 KT4 filed suit, seeking, inter alia, information needed to investigate wrongdoing at Palantir. Id. at *1.

 8            After a one-day trial, the Delaware Court of Chancery entered judgment in favor of KT4. Id. at
 9 *1-2. The Court found that KT4 had shown a credible basis to justify further investigation into three

10 areas: (1) Palantir’s “serial failures” to abide by Delaware General Corporation Law; (2) Palantir’s

11 efforts to “eviscerate[]” shareholder information rights by retroactively amending the Investors’ Rights

12 Agreement; and (3) Palantir’s apparent violations of shareholder agreements, which arose out of, inter

13 alia, the undisclosed sales of over 100 million shares of stock by Palantir insiders. Id. at *2, *11–15.

14 The Court ordered Palantir to produce books and records relating to these subjects so that KT4 could

15 conduct an investigation. Id. at *18-19. The Court denied KT4’s other requests, including KT4’s

16 request to investigate the CDH deal.2 The Court found that the CDH deal was not a “proper subject” of

17 a Section 220 investigation. Id. at *2. At oral argument, the Court advised KT4 that it should file a

18 tortious interference claim and propound discovery if it wanted to investigate the CDH deal.

19            KT4 has done so in Delaware Superior Court. That Court recently denied Palantir’s motion to
20 dismiss, and the case is proceeding. See Delaware Superior Court Opinion, 2018 WL 4033767, at *1-2.

21            D.      Palantir Files the California Complaint, but Discovery Is Stayed.
22            In contrast to proceedings in Delaware, Palantir’s effort to discredit Abramowitz in the
23 California action has been stalled. In that suit, Palantir alleges that Abramowitz, KT4, and the Marc

24 Abramowitz Charitable Trust No. 2 (“Defendants”) obtained unspecified trade-secret information from

25 Palantir’s officers and employees while subject to three “Confidentiality Contracts”: (1) the 2012

26 Transfer Agreement, (2) an NDA dated July 12, 2014, and (3) a Preferred Stock Transfer Agreement

27

28   2
         KT4 has pursued an appeal with respect to some of these requests.
                                                         7
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 1 dated June 17, 2015. See Ex. A3 (Second Amended Complaint) ¶¶ 30, 31, 32. According to Palantir,

 2 the information disclosed to Abramowitz relates to technologies for “interpreting and analyzing data”

 3 and the “trade secret business plans and customer lists related to these technologies.” Id. ¶ 19.

 4 Although Palantir’s complaint makes no effort to describe what sort of “data” and “trade secrets” it

 5 alleges were stolen, it does put at issue three broadly described technologies: (1) “Healthcare

 6 Technology”; (2) “Cyber Insurance and Cybersecurity Technology”; and (3) “Natural Resources

 7 Exploration Technology.” Id. ¶¶ 42, 50, 55. Palantir alleges that Defendants used that information

 8 when “market[ing]” a competing business, filing patent applications with the USPTO, and disclosing the

 9 information to unnamed “others.” See, e.g., Id. ¶¶ 42-44. Palantir claims that these actions breached the

10 Confidentiality Contracts and violated the California Uniform Trade Secrets Act (“CUTSA”). Id. ¶¶ 70-

11 86, 95-104. Palantir’s complaint seeks all damages caused by Defendants’ alleged disclosures of

12 information and a broad injunction barring Defendants from “directly or indirectly retaining, using or

13 disclosing Palantir’s trade secret, confidential and/or proprietary information, and derivatives thereof.”

14 Id., Prayer For Relief ¶¶ 2(c), 6. Palantir has contended that the relief it seeks would require Defendants

15 to “withdraw or amend their patent applications.”4 See Plaintiff Palantir Techs. Inc.’s Reply in Support

16 of Motion to Remand and For Attorneys’ Fees and Costs at 1, Palantir Techs. Inc. v. Abramowitz et al.,

17 16-cv-05857-PJH, (N.D. Cal. Jan. 30, 2017), Dkt. 31 at 1 [hereinafter “Palantir Reply ISO Motion to

18 Remand”].

19          Because Palantir filed suit under CUTSA, California law requires it to identify any allegedly
20 misappropriated trade secrets with “reasonable particularity” before it is entitled to seek discovery. See

21 Cal. Civ. Proc. Code § 2019.210. Even though it has had more than three years to get its story straight

22

23   3
    All citations to “Ex. __” refer to the exhibits to the Wohlgemuth Declaration filed contemporaneously
24 with this opposition.
     4
25   Defendants in the California action removed the case to this Court. Palantir Techs. Inc. v. Abramowitz
   et al., 16-cv-05857-PJH, (N.D. Cal. Jan. October 11, 2016), Dkt. 1 (notice of removal). The basis for
26 the removal was that, by challenging Abramowitz’s status as the inventor of the U.S. patent applications,
   the California complaint raised an issue of U.S. patent law. Id. at ¶ 1. Palantir sought remand, inter
27 alia, on the grounds that its claims went “well beyond” the U.S. patent applications and that they
   covered all disclosures to “others”. Palantir Techs. Inc. v. Abramowitz et al., 16-cv-05857-PJH, (N.D.
28 Cal. Jan. 30, 2017), Dkt. 31 at 7, 12. This Court remanded the case. Palantir Techs. Inc. v. Abramowitz,
   2017 WL 926467, at *1 (N.D. Cal. Mar. 9, 2017).
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 1 (over a year before filing suit and two years after filing suit), Palantir has failed to satisfy this threshold

 2 requirement.

 3          Twice, Palantir submitted purported trade secret disclosures. Twice, the Superior Court found
 4 that those disclosures did not satisfy the “reasonable particularity” requirement. On the first occasion,

 5 the Court found that Palantir’s disclosure was “pretty general,” full of “words that don’t . . . say a lot,”

 6 and did not “disclose anything secret.” See Ex. B at 10:6-11 (Transcript of Feb. 13, 2018 Proceedings).

 7 Palantir’s second attempt was no better: it tried to satisfy the “reasonable particularity” requirement by

 8 copy-pasting from Abramowitz’s public patent applications. The Court found that this sort of shortcut

 9 did not comply with Section 2019.210: the statute requires a plaintiff to supply its own narrative

10 description of the trade secrets as they existed at the time of the alleged misappropriation, which forces

11 plaintiffs to show the court that they have prima facie legitimate claims.5 See Ex. C (California Superior

12 Court order providing that “Palantir may not describe a trade secret with reasonable particularity by

13 quoting from or citing to one of Defendants’ patent applications”).

14          To this day, Palantir has been unable to identify any alleged trade secrets supposedly
15 misappropriated by Abramowitz with reasonable particularity, and the Superior Court’s bar on Palantir

16 obtaining discovery remains in effect.

17          E.      Palantir Is Compelled to Produce Books and Records for an Investigation.
18          After the Delaware Court of Chancery’s decision, Palantir began producing its books and records
19 for KT4’s inspection. KT4 was shocked by what it found. In April 2018, KT4 began exchanging letters

20 with Palantir, in which it made clear to Palantir what KT4’s investigation was uncovering: for nearly a

21 decade, Palantir’s founding shareholders have been using their positions at Palantir to enrich themselves

22 at stockholder expense.6 KT4 also made clear, in a July 16, 2018, brief filed with the Delaware Supreme

23
     5
24   The California Superior Court formally entered its Order on August 31, 2018, but the Court stated that
   it was staying discovery during a hearing on May 18, 2018. The delay was largely due to the meet and
25 confer process between Defendants and Palantir over the form of order.
     6
26   The letters are currently under seal in the first case pending before the Delaware Court of Chancery.
   KT4 describes their contents to the Court using language that it has already used in public filings and
27 that Palantir has declined to seal. KT4, moreover, has filed a motion to compel Palantir’s compliance
   with the Delaware Court of Chancery’s final order; the motion is pending. KT4 has also filed a second
28 books and records action in the Delaware Court of Chancery, seeking information relating to Palantir’s
   valuation.
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 1 Court, that it was investigating whether Palantir and its founding shareholders have defrauded Palantir’s

 2 other shareholders. See Ex. D (excerpt from Delaware Supreme Court brief).

 3           F.      Palantir Files a Lawsuit in Germany Based on the Same Years-Old Allegations
                     Underlying the California Case.
 4
             Knowing that KT4 is likely to bring significant claims against Palantir and its founding
 5
     shareholders, and frustrated by its repeated failures in the California case, Palantir resorted to drastic
 6
     measures to try to gain leverage over Abramowitz: on August 6, 2018, Palantir brought suit, without
 7
     notifying Abramowitz or his counsel, in German court seeking declaratory relief and damages related to
 8
     the Cyber Insurance and Cybersecurity Technology. Waldeck Decl. at 3 ¶ 8 (Dkt. No. 4). Apparently,
 9
     Palantir intends to file a second German action based on the Healthcare Technology, which is also at
10
     issue in the California case. Id. at 3 ¶ 9.
11
             The German case(s) and the California case are based on the same alleged conduct that Palantir
12
     has known about for years: Palantir alleges that it shared confidential information with Abramowitz
13
     while he was supposedly subject to the “Confidentiality Contracts” and that Abramowitz then disclosed
14
     the confidential information to third parties. Waldeck Decl., Ex. A at 5-7 (translation of German
15
     complaint). In the California case, the third parties are the USPTO and unnamed “others.” Ex. A ¶¶ 42-
16
     44. In the German case, the third party is the World Intellectual Property Organization, with which
17
     Abramowitz filed international patent applications. Waldeck Decl., Ex. B at 2 (translation of German
18
     complaint). The international patent applications and the USPTO patent applications are substantively
19
     identical. In fact, “[t]he entire content of [USPTO] patent application[s] [are] incorporated by
20
     reference” in the international patent applications. See, e.g., Ex. E at 1 (international application for
21
     “Dynamic Security Rating for Cyber Insurance Products”); see also Ex. F at 1 (corresponding USPTO
22
     application which is substantively identical). The international applications were published to the world
23
     in April and May of 2016, at roughly the same time as the USPTO applications. See Ex. E (international
24
     application showing publication on April 28, 2016); see Ex. F (corresponding USPTO application
25
     showing publication on April 21, 2106).
26
             Palantir alleges that Abramowitz has abandoned the international applications and that this
27
     abandonment occurred back in April 2017. Waldeck Decl., Ex. A at 7-8 (translation of German
28
                                                           10
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 1               •   Two of Palantir’s three claims in the pending German case seek damages that are
 2                   subsumed entirely within the damages it is seeking in the California case, where it has
 3                   requested all damages caused by Abramowitz’s alleged conduct. See Ex. A, Prayer for
 4                   Relief. Palantir’s third claim seeks a declaration that it, not Abramowitz, is the inventor
 5                   of the technologies disclosed in the international patent application. That is exactly the
 6                   same issue pending in the California court. See, e.g., id. ¶ 49 (alleging that “Abramowitz
 7                   misappropriated Palantir’s inventions and trade secrets”). Palantir does not explain why
 8                   a California judgment declaring it to be the inventor of the technologies, along with the
 9                   broad injunctive relief it seeks—which it claims could cause Abramowitz to “withdraw or
10                   amend” his patent applications—would not provide Palantir full and complete relief.
11                   Indeed, Palantir’s own German law expert recognizes that German courts could recognize
12                   such a judgment. Waldeck Decl. ¶ 15.
13          For these reasons, the Court should reject Palantir’s ex parte application as having been brought
14 in bad faith.

15          B.       The Intel Factors Weigh Strongly Against Granting Palantir’s Application.
16          A district court’s assistance under § 1782 is discretionary, not mandatory. Intel, 542 U.S. at 244.
17 Four non-exclusive factors from the Supreme Court’s decision in Intel guide the analysis: (1) whether

18 “the person from whom discovery is sought is a participant in the foreign proceeding”;10 (2) “the nature

19 of the foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the

20 foreign [tribunal] to U.S. federal-court judicial assistance”; (3) “whether the § 1782(a) request conceals

21 an attempt to circumvent foreign proof-gathering restrictions or other policies of a foreign country or the

22 United States”; and (4) whether the request is “unduly intrusive or burdensome.” Intel, 542 U.S. at 264-

23 65. These factors “are not to be applied mechanically,” and a district court may “also take into account

24 any other pertinent issues arising from the facts of the particular dispute.” Kiobel ex rel. Samkalden v.

25 Cravath, Swaine & Moore LLP, 895 F.3d 238, 245 (2d Cir. 2018).

26          Here, each Intel factor weighs in favor of denying Palantir’s ex parte application.
27
     10
28      Palantir wrongly implies that the first Intel prong is “whether the discovery sought is within the
     jurisdiction of the foreign proceeding.” Mem. of P&A, at 10.
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 1                  1.      Abramowitz Is a Party to the German Lawsuit.
 2          The first Intel factor weighs strongly against Palantir because Abramowitz is a party to the
 3 dispute in Germany, although he has not yet been served with the complaint. In these circumstances—

 4 “[w]hen the person from whom discovery is sought is a participant in the foreign proceeding”—“the

 5 need for § 1782(a) aid generally is not as apparent as it ordinarily is when evidence is sought from a

 6 nonparticipant in the matter arising abroad,” because a “foreign tribunal has jurisdiction over those

 7 appearing before it, and can itself order them to produce evidence.” Intel, 542 U.S. at 264.

 8          Palantir tries to overcome this fact by arguing that discovery from Abramowitz in Germany is
 9 unobtainable. But German courts can order a party properly before it “to produce whatever evidence

10 their laws require.”11 Via Vadis Controlling GmbH v. Skype, Inc., 2013 WL 646236, at *2 (D. Del. Feb.

11 21, 2013); see also Schmitz v. Bernstein Liebhard & Lifshitz, LLP, 376 F.3d 79, 85 (2d Cir. 2004) (“Intel

12 suggests that because DT is a participant in the German litigation subject to German court jurisdiction,

13 petitioner’s need for § 1782 help is not as apparent as it ordinarily is when evidence is sought from a

14 nonparticipant in the matter arising abroad.”); In re Ex Parte LG Elecs. Deutschland GmbH, 2012 WL

15 1836283, at *2 (S.D. Cal. May 21, 2012) (“Mitsubishi is the plaintiff in the German action. . . . LG has

16 not explained why that information cannot be obtained from Mitsubishi in either lawsuit.”). And while

17 Palantir complains about the German discovery regime, that is the balance struck by the German legal

18 system, and comity demands respect for that balance when the foreign court has jurisdiction over the

19 parties and can decide for itself whether discovery is appropriate. See Andover Healthcare, Inc. v. 3M

20 Co., 817 F.3d 621, 623 (8th Cir. 2016) (“That this [German court] approach is more circumspect than

21 American discovery does not dictate an order for discovery under § 1782(a).”). Moreover, the typical

22

23   11
        At one point, Palantir’s ex parte application cites the declaration of its German law expert and claims
24   that Abramowitz, even though he is a party to the German case, is “beyond the jurisdiction of the
     German Court.” Mem. of P&A, at 15 (citing Waldeck Decl. ¶ 4). But the declaration says no such
25   thing. The cited paragraph only states: “Freshfields represents Palantir . . . in connection with litigation
     Palantir has already brought and will bring in the near future against Marc L. Abramowitz
26   (‘Abramowitz’), a citizen of the United States who resides [in San Francisco], in the Regional Court
     Munich 1 . . . .” Waldeck Decl. ¶ 4. The idea that a party to a lawsuit is “beyond the jurisdiction” of
27   German courts is one that Palantir simply makes up. In fact, Palantir’s expert expressly contradicts this
     point later when he concedes that the German court could “request submission of documents particularly
28   specified or referred by a party.” Waldeck Decl. ¶ 13. To be clear, Abramowitz reserves all rights to
     challenge personal jurisdiction in Germany.
                                                          17
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 1 secret misappropriation to provide a description of the trade secrets that were allegedly misappropriated

 2 with “reasonable particularity.” This requirement is aimed at forcing a plaintiff to show the legitimacy

 3 of its allegations: if a plaintiff could just get a defendant’s documents in discovery immediately after

 4 filing its complaint, it would be able to claim that the things found there are its own “trade secrets.” See

 5 Perlan, 178 Cal. App. 4th at 1343. California’s policy would be eviscerated if a plaintiff could use

 6 litigation abroad, combined with § 1782, to obtain the defendant’s documents for use when describing

 7 its supposed trade secrets with “reasonable particularity” for purposes of Section 2019.210. That is true

 8 both in this case—as Palantir will no doubt use Abramowitz’s testimony and documents when crafting

 9 its Section 2019.210 disclosure—and more generally. That result offends comity between federal and

10 state courts. Cf. Younger v. Harris, 401 U.S. 37, 44 (1971) (“What [comity] represent[s] is a system in

11 which there is sensitivity to the legitimate interests of both State and National Governments, and in

12 which the National Government, anxious though it may be to vindicate and protect federal rights and

13 federal interests, always endeavors to do so in ways that will not unduly interfere with the legitimate

14 activities of the States.”).

15          Palantir filed the German case days before seeking § 1782 relief from this Court, and Palantir has
16 not even tried to use any German evidence-gathering rules. This timing indicates that Palantir is trying

17 to “side-step[] less-than-favorable discovery rules by resorting immediately to § 1782.” In re Cathode

18 Ray Tube (CRT) Antitrust Litig., 2013 WL 183944, at *3 (N.D. Cal. Jan. 17, 2013). It is true that an

19 applicant need not exhaust foreign discovery tools before turning to § 1782, but courts should

20 discourage parties (like Palantir) from “scurry[ing] to U.S. courts to preempt discovery decisions from

21 tribunals with clear jurisdictional authority.” See In re Kreke Immobilien KG, 2013 WL 5966916, at *6

22 (S.D.N.Y. Nov. 8, 2013). “Exhaustion is one thing, but evasion is quite another.” Id.

23                  4.      The Requested Discovery Is Unduly Burdensome.
24          The fourth Intel factor also weighs against Palantir.
25          First, and most significantly, Palantir seeks discovery of confidential information from a nearly
26 twelve-year time period, some of which—by Palantir’s own admission—bears no relation to the claims

27 in the German case. See Bukowski Decl., Ex. A (subpoena seeking documents “concerning the

28 technology described in the Challenged Patents,” as well as “systems, methods, software, devices,
                                                         22
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 1 Ltd., 2015 WL 3439103, at *9 (D. Nev. May 28, 2015) (internal quotation and citation omitted). Indeed,

 2 the language of 28 U.S.C. § 1782(a) provides for the production of “a document,” and elsewhere in that

 3 same section it says “the document.” As this Court recognized, “[t]hat singular language suggests that

 4 the statute was meant to encompass a very limited and specific item of discovery.” In re Cathode Ray

 5 Tube (CRT) Antitrust Litig., 2012 WL 6878989, at *3 (N.D. Cal. Oct. 22, 2012), report and

 6 recommendation adopted, 2013 WL 183944 (N.D. Cal. Jan. 17, 2013).

 7          Palantir’s requests are anything but “limited” or “specific.” Palantir is using § 1782 to seek
 8 broad discovery regardless of its relevance to its German patent lawsuit, including discovery dating back

 9 nearly 12 years and relating to technologies “other than those described in the Challenged Patents.” See

10 Bukowski Decl., Ex. A. Given that Palantir’s German litigation relates to two discrete technologies that

11 Palantir claims it shared with Abramowitz in 2014, these sort of requests constitute precisely the kind of

12 “broad ‘fishing expedition’” that is inappropriate under § 1782. In re Qualcomm Inc., 162 F. Supp. 3d

13 1029, 1043 (N.D. Cal. 2016); see also Moon v. SCP Pool Corp., 232 F.R.D. 633, 637 (C.D. Cal. 2005)

14 (subpoena for ten years of business records was overbroad because it was not limited to the three-year

15 period relevant to breach of contract claims).

16          Finally, Palantir seeks the very same information it has been twice precluded from pursuing in
17 the California state court case. If anything, the broad scope of Palantir’s requests—which again cover a

18 nearly twelve-year time period and include all documents relating to all of Abramowitz’s patent

19 applications—shows that Palantir is seeking discovery for use in California, not Germany. This Court

20 should not countenance Palantir’s attempt to use duplicative, international litigation to obtain the

21 discovery it was twice precluded from pursuing in California.

22          This Court should deny Palantir’s request for relief outright, rather than attempting to narrow the
23 requests. “It was [Palantir’s] job to make appropriate requests, and it did not do so.” See In re O2CNI

24 Co., Ltd., 2013 WL 5826730, at *16 (N.D. Cal. Oct. 29, 2013).

25 IV.      CONCLUSION
26          For the reasons set forth above, Abramowitz respectfully requests that the Court deny Palantir’s
27 application.

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                                                        24
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 1 DATED: September 7, 2018              Respectfully submitted,
 2                                       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 3                                       By: /s/ Jack P. DiCanio   s
                                             Jack P. DiCanio
 4
                                             Attorneys for
 5                                           MARC L. ABRAMOWITZ
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